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AO 83 (Rev. 06/09) Summons in a Criminal Case


                                      United States District Court
                                                                 for the
                                                        District of Maryland

                   United States of America                        )
                              v.                                   )
                                                                   )
                                                                   )    Case No.      21-mj-3245-ADC
                                                                   )
                   AMAR SALIM SHABA2Z                              )
                             Defendant                             )

                                                SUMMONS IN A CRIMINAL CASE

        YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

□ Indictment               □ Superseding Indictment        □ Information □ Superseding Information                sf Complaint
□ Probation Violation Petition            □ Supervised Release Violation Petition □ Violation Notice           □ Order of Court

        United States District Court, Baltimore
Place: 101 W. Lombard Street, 8th floor                                         Courtroom No.: 7B
        Baltimore, MD 21201
                                                                                Date and Time:      12/02/2021 11:00 am

         This offense is briefly described as follows:
Mail Fraud (18 U.S.C. § 1341); Obstruction of Justice (18 U.S.C. § 1519)                           LOGGED.
                                                                                                                   —.RECEIVED

                                                                                                             06 2021




Date:        24 Novmber 2021
                                                                                     Issuing officers signature

                                                                       Hon. A. David Copperthite, U.S. Magistrate Judge
                                                                                      Printed name and title



I declare under penalty of perjury that I have:
^f^Executed and returned this summons
                                                               □ Returned this summons unexecuted



Date:
                                                                                        Server’s signature

                                                                 l^icWl Cc-W           (Rfl \-\r (r-ee.                           ^r
                                                                                      Printed name and title        P
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  Case No.
                                This second page contains personal identifiers and therefore should
                                      not be filed in court with the summons unless under seal.
                                                       (Notfor Public Disclosure)

                                                         INFORMATION FOR SERVICE
Name of defendant/offender:             AMAR SALIM SHABAZZ
Last known residence:            95 Gwynnswood Road Owings Mills, MD 21117


Usual place of abode (ifdifferentfrom residence address):



If the defendant is an organization, name(s) and address(es) of officer(s) or agent(s) legally authorized to receive service of
process:


If the defendant is an organization, last known address within the district or principal place of business elsewhere in the
United States:


                                                            PROOF OF SERVICE
This summons was received by me on (date)

         □ I personally served the summons on this defendant                                                                  at
         (place)                                                        on (date)                            ; or
         O On (date)                                1 left the summons at the individual’s residence or usual place of abode
         with (name)                                                 , a person of suitable age and discretion who resides
         there, and I mailed a copy to the individual’s last known address; or
         □ I delivered a copy of the summons to (name of individual)
         who is authorized to receive service of process on behalf of (name oforganization)
                                                                      on (date)                           and I mailed a copy to
         the organizations’s last known address within the district or to its principal place of business elsewhere in the
         United States; or
         □ The summons was returned unexecuted because:


I declare under penalty of perjury that this information is true.


Date returned:
                                                                                      Server's signature
                                                                                              rled___
                                                                                                                entered
                                                                                              tOGGED            received
                                                                                    Printed name and title

                                                                                               DEC 06 2021
Remarks:


                                                                                                                    deputy
